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                     Exhibit 8
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BR1997.1021/94                                                        defendant was a mortgagee in the first half of 1984. Even though
TfS 1997, 403                                                         attorney Hans Sylvestersen was appointed as supervisor for Bent
                                                                      Mylin in November 1983, the defendant has actually retained the
                                                                      usufruct mortgage, which the defendant has stated to both attorney
Copenhagen City Court judgment of February 13, 1997, j nr.            Hans Sylvestersen and attorney Karl Henning Johansen, who acted
1021/94                                                               for the defendant.

Danish Ministry of Taxation Customs and Tax Administration
v/Kammeradvokaten v/advokatfuldmægtig Tom Holsøe 2100
Copenhagen Ø
mod
Danish Agricultural Mortgage Fund, v/ attorney Preben
Thomassen Nyrupsgade 21, 1602 Copenhagen V

VAT liability - mortgages - excusable ignorance

  ♦ The case concerned whether a mortgage fund was actually a
    mortgagee for a period in 1984 and liable for VAT, and
    whether the authorities had been in ignorance of the VAT
    liability and were only able to assert the claim in 1992. The
    mortgage fund was found not to have abandoned the
    mortgage, and since the local authorities were informed of the
    situation in 1984, they should have investigated the matter.
    The defendant mortgage credit fund was acquitted.


  ♦    In 1983, the defendant mortgage credit fund took over a
      property as a usable mortgage, but handed over the
      administration to a lawyer after a compulsory composition
      had been opened for the debtor. The mortgage fund
      formally deregistered the mortgage to the customs
      authority on July 1, 1984. The case revolved around the
      question of whether the mortgage fund was actually the
      mortgagee in the period January-June 1984 and liable for
      VAT during the period, and whether the customs authority
      was in ignorance of the mortgage fund's VAT liability and
      was only able to assert the claim from 1992. The court
      found that the mortgage fund had not abandoned the
      mortgage and was therefore liable for VAT. However, as
      the local customs office had been informed in 1984 that
      the usufruct lien continued, the customs authority should
      have investigated the matter further at the time and the
      defendant mortgage credit fund was acquitted.
City Courts
In this case, where the judgment pursuant to section 366a(2) of the
Danish Administration of Justice Act is replaced without a
complete statement of case, the plaintiff, Skatteministeriet Told
og Skattestyrelsen, claimed that the defendant, Dansk
Landbrugsrealkreditfond, was ordered to pay DKK 52,430 plus
interest of 1.3% per commenced month of DKK 26,215 from
December 1, 1984 and of DKK 26,215 from March 1, 1985.
 The defendant has claimed acquittal.
 Claims relate to VAT returns for the period January 1, 1984 to
June 30, 1984. The parties agree on the amount of the claim.
However, the parties do not agree whether the defendant was a
mortgagee during the period in question and is therefore liable
for the claim, and if so, whether the claim is time-barred.
 Farmer Bent Mylin's property was taken for usable mortgage on
June 16, 1983 by the defendant. The bankruptcy court opened a
compulsory composition for the debtor on September 15, 1983,
and the defendant formally discharged the mortgage against the
plaintiff around July 1, 1984.
 In support of the claim, the plaintiff has argued that the
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interests in the site. In letters dated October 7, 1983, the           and as Bent Mylin was not deemed to be cooperative, the
defendant indicated that it did not wish to formally give up the       defendant was interested in keeping a "short leash on him",
usufruct for the time being. In a letter dated March 15, 1984, the     which is why they would not give up the mortgage. After
defendant1 stated that it would only be prepared to terminate the      September 26, Hans Mylin administered
mortgage when the defendant had been satisfied. Thus, the
defendant had not actually relinquished the usufruct, and it has
no bearing on the present case that the defendant actually agreed
to Hans Sylvestersen administering the property. The
administration of the property was in the defendant's interest,
and the defendant could at any time take over the property as
mortgagee.
  In support of the claim that the claim is not time-barred, the
plaintiff has stated that the plaintiff has been in ignorance of the
fact that the defendant was liable for VAT during the period,
and that the plaintiff was not able to assert the claim against the
defendant until January 1992. The limitation period was
therefore suspended until January 1992. As stated above, the
plaintiff received ambiguous answers from Bent Mylin's
advisors and the defendant's lawyer.
  In support of the claim that the defendant was not a mortgagee
in spring 1984, the defendant has stated that the defendant
actually waived the established mortgage with effect from
September 26, 1983, when the administration of the property was
transferred to lawyer Hans Sylvestersen. This also appears from
the correspondence between attorney Hans Sylvestersen and the
defendant's local attorney Hans Jakob Hansen. Between attorney
Hans Sylvestersen and attorney Carl Henning Johansen, it was
discussed that attorney Hans Sylvestersen should take over
responsibility for the operation of Bent Mylin's property,
thereby effectively terminating the mortgage. In this connection,
attorney Karl Henning Johansen wrote to the defendant by letter
dated September 30, 1983, and the letter states, among other
things, that "he (Sylvestersen) wants DLR to waive the
mortgage in exchange for his guarantee that no other debt will
be paid out of the amount outstanding with him until DLR's
arrears have been paid. I would like to hear whether they will
consider this "confession" to be sufficient for the abandonment of
the mortgage. My opinion is that if Attorney Sylvestersen has the
money, he might as well pay". The defendant then left the
administration of Bent Mylin's property to the supervisory
authority during the suspension of payments, which is evident
from attorney Karl Henning Johansen's letter of October 11,
1983 to Celebrity Slaughterhouses stating that payment for the
slaughter of animals should be made to attorney Sylvestersen
Ribe. Formally, the usufruct was not terminated in writing to the
bailiff court in Tønder, but this was not a requirement under the
rules at the time.
  Did the defendant have to be considered liable to account for
  VAT during the period
January 1 to June 30, 1984, the claim is time-barred. By letter of
May 4, 1984, the plaintiff requested the defendant to provide an
explanation as to why the mortgage was still maintained. The
plaintiff received an explanation by letter dated May 7, 1984.
The plaintiff was thus already aware on May 4, 1984 that there
could be a usufruct that had not been deregistered by the
defendant. This answer together with Attorney Karl Henning
Johansen's letter of July 6, 1984, in which he stated that the
usufruct had now finally ended, should have given the plaintiff
reason to investigate the matter further.
  During the case, testimony was given by attorney Karl
Henning Johansen. Karl Henning Johansen has, among other
things, explained that he was a lawyer for the defendant in 1983.
The witness's administration of Bent Mylin's property ceased on
September 26, 1983. However, there was still a mortgage deficit,
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Sylvestersen actually held the property for the defendant.            was ambiguous, coupled with the fact that the plaintiff was
However, Sylvestersen was to be regarded as the debtor's              considering
representative. The construction was designed so that the
defendant, in the event of default, could immediately take over the
mortgage as usufructuary mortgagee. There was no obligation to
give notice of termination of the usable mortgage to either the
bailiff court or the customs chamber, and the witness does not
remember today why he wrote the letter of July 6, 1984 to the
District Customs Chamber. It is in fact a matter of formality.
  Court comments:
  It is assumed that there was no obligation for the defendant to
deregister the usable mortgage either to the bailiff court or the
district customs office. It must therefore depend on a weighing of
the actual circumstances whether the mortgage existed in the
period January 1, 1984 to June 30, 1984.
  By letter dated September 30, 1983, the defendant's lawyer Karl
Henning Johansen asked the defendant whether the defendant
wanted to waive the mortgage. In a letter dated October 7, 1983,
the defendant stated that it did not wish to formally abandon the
usufruct for the time being. By letter dated March 15, 1984, the
defendant stated that the defendant was prepared to terminate the
mortgage when the mortgage deficit had been paid. This deficit
was paid by letter dated June 29, 1984, in which attorney Hans
Sylvestersen remarked to the defendant that he assumed that the
defendant would take care of the termination of the mortgage with
the various suppliers, including notifying the customs authorities
of the formal termination.
  The Court found that the defendant would not waive the
usufruct until the defendant had been satisfied for arrears and
costs. This appears, among other things, from attorney Karl
Henning Johansen's letter of May 7, 1984 to the District Customs
Chamber, where the attorney states that "the mortgage continues
until the composition is fulfilled, in order to have some "control"
of the property, if DLR so wishes. The usufruct gives the fund
the opportunity to intervene in the operation of the property with
immediate notice". This corresponds to the lawyer's explanation
in court, where he stated that the defendant wanted to have
"control" over Bent Mylin.
  In the court's opinion, the defendant did not give up its
mortgage until all arrears had been paid. The defendant has thus
during the period in question been obliged to keep VAT accounts
and pay the VAT due.
  It appears from the plaintiff's internal memo of April 27, 1984,
that the plaintiff had become aware that there was still a formal
mortgage on Bent Mylin's property. The memo ends with the
statement that the defendant "will consider this registration and
thus liability", and by letter dated May 4, 1984, the plaintiff
asked attorney Karl Henning Johansen for an explanation, as "the
customs chamber must be of the opinion that the mortgagee is liable
for the tax liability as long as the mortgage continues, and must
request an explanation as to why the mortgage continues". By
letter dated May 7, 1984 from attorney Karl Henning Johansen,
the plaintiff was informed that the usufruct continued until the
composition was fulfilled. By letter dated May 22, 1984, the
plaintiff maintained his claim, which was countered by Karl
Henning Johansen's letter dated August 31, 1984. This letter
stated that the usufruct terminated on September 26, 1983. This
information together with Bent Mylin's claim in the enforcement
court on March 18, 1985, that the defendant had the property in
usable mortgage in the spring of 1984, should have given the
plaintiff reason to investigate the liability more closely. The
court admits that the plaintiff has received ambiguous
information from the defendant and his advisor and lawyer Karl
Henning Johansen. However, the very fact that the information
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about the basis of liability should have meant that the plaintiff
had already made its position clear in 1984 or 1985. Thus, the
plaintiff has not been in an unaccountable ignorance that the
defendant was liable for VAT during the period.
 The defendant should therefore be acquitted.
 For it is recognized as right
 The Danish Agricultural Mortgage Fund is dismissed. Within 14
days from the date, the plaintiff, the Danish Ministry of
Taxation, Customs and Tax Agency, shall pay the Danish
Agricultural Credit Fund DKK 9,400 in costs.




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